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UNITED sTATES OF AMERICA W_D_ OF mg M,;WH‘S

VS. CR. NO. 04-20417-Ma

ANTHONY TOWNER,

Defcndant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSlON HEARING

 

Bcfore the court is the May 27, 2005, motion of the Defendant, Anthony Towner, for a
continuance of the suppression hearing set for June 2, 2005.

For good cause shown, the motion is granted. The hearing on the motion to suppress is reset

for Thursday, June 30, 2005 at 2:00 p.m.

1T ls so oRDEREI) this the *'-'*` L day OfJune, 2005.
M "W "‘/"-=m-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 
  

»» A~numem entered on the i.i€)fl't“?`L 5“‘“ ‘
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This notice confirms a copy of the document docketed as number 45 in
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Honorable Samuel Mays
US DISTRICT COURT

